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13
14                      UNITED STATES DISTRICT COURT
15                   NORTHERN DISTRICT OF CALIFORNIA
16   JENNIFER CHEN, individually and on Case No.:
17   behalf of all others similarly situated,
                                              PLAINTIFF’S CERTIFICATION
18                        Plaintiff,          OF INTERESTED ENTITIES OR
19                                            PERSONS
20         v.

21   FLO HEALTH, INC.
22
                       Defendant.
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                           Chen v. Flo Health, Inc.
      PLAINTIFF’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
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 1         Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date,
 2   other than the named parties, there is no such interest to report.
 3
 4
 5   Dated: March 2, 2021             LAW OFFICES OF RONALD A. MARRON

 6
 7                                    By:           /s/ Ronald Marron
                                                    Ronald Marron
 8
 9                                    Attorneys for Plaintiff and the Proposed Class
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